     Case 12-39497-MBK       Doc 70   Filed 08/31/17 Entered 08/31/17 13:53:28           Desc Main
                                      Document     Page 1 of 2




UNITED STATES BANKRUPTCY COURT
                                                                        Order Filed on August 31, 2017
DISTRICT OF NEW JERSEY                                                             by Clerk
                                                                           U.S. Bankruptcy Court
                                                                            District of New Jersey


                                                        Case No.            12-39497
                                                                           __________________
 In Re:
 Stephen D. Holden and Dina M. Marquis-Holden           Hearing Date:      9/14/17 at 10:00 a.m
                                                                           __________________

                                                        Judge:             Michael B. Kaplan
                                                                           __________________

                                                        Chapter:                 13
                                                                           __________________




                            ORDER TO SHOW CAUSE
            WHY THE MOTION SHOULD NOT BE DENIED OR THE DOCUMENT
          STRICKEN FOR FAILURE TO COMPLY WITH THE COURT’S DIRECTIVE


      The relief set forth on the following page is hereby ORDERED.




DATED: August 31, 2017
Case 12-39497-MBK         Doc 70   Filed 08/31/17 Entered 08/31/17 13:53:28     Desc Main
                                   Document     Page 2 of 2


                                    Daniel E. Straffi
        The court having noted that ______________________________________ was directed to file:

ORDER  TO BE SUBMITTED (#68 Motion to Reinstate Case)
_____________________________________________________________ and that the document has

not been filed, it is hereby


                      Daniel E. Straffi
        ORDERED that _________________________                     September 14, 2017
                                               shall show cause on _______________________

                                                   402 East State Street, Trenton New Jersey,
   10:00 am in the United States Bankruptcy Court, __________________________,
at _________

                  8
Courtroom number _____,                      Michael B. Kaplan
                        before the Honorable ____________________________why the:


        t
        x       motion should not be denied,

        t       pleading should not be stricken.




                                                                                           new 9/10/07




                                                   2
